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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

ZEPH AARON BARRY,

                                            Plaintiff,
                                                                                    Case # 16-CV-162-FPG
v.
                                                                                    DECISION AND ORDER

CAROLYN W. COLVIN,
ACTING COMMISSIONER OF SOCIAL SECURITY,

                                            Defendant.


       Zeph Aaron Barry (“Barry” or “Plaintiff”) brings this action pursuant to the Social

Security Act (“the Act”) seeking review of the final decision of the Acting Commissioner of

Social Security (“the Commissioner”) that denied his applications for disability insurance

benefits (“DIB”) and Supplemental Security Income (“SSI”) under Titles II and XVI of the Act.

ECF No. 1. This Court has jurisdiction over this action under 42 U.S.C. §§ 405(g), 1383(c)(3).

       Both parties have moved for judgment on the pleadings pursuant to Rule 12(c) of the

Federal Rules of Civil Procedure.             ECF Nos. 11, 14.                For the reasons that follow, the

Commissioner’s motion is GRANTED and Plaintiff’s motion is DENIED.

                                              BACKGROUND

       On December 9, 2010, Barry applied for DIB and SSI with the Social Security

Administration (“the SSA”).           Tr.1 115, 280.         He alleged that he had been disabled since

September 30, 2009, due to back, neck, and spinal injuries, arthritis, attention deficit

hyperactivity disorder (“ADHD”), dyslexia, a hernia, migraines, and chronic obstructive

pulmonary disease (“COPD”).             Tr. 285.      After his applications were denied at the initial

administrative level, a hearing was held before Administrative Law Judge David S.
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       References to “Tr.” are to the administrative record in this matter.

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Lewandowski (“the ALJ”) on February 5, 2014, in which the ALJ considered Barry’s

applications de novo. Tr. 41-78. Barry appeared at the hearing with his attorney and testified.

Id. At the hearing, Barry amended his alleged disability onset date to December 9, 2010 and

withdrew his DIB application. Tr. 44. Josiah L. Pearson, a vocational expert (“VE”), also

appeared at the hearing and testified. Tr. 74-78. On May 24, 2014, the ALJ issued a decision

finding that Barry was not disabled within the meaning of the Act. Tr. 15-34. On October 15,

2015, that decision became the Commissioner’s final decision when the Appeals Council denied

Barry’s request for review. Tr. 5-9. Thereafter, Barry commenced this action seeking review of

the Commissioner’s final decision. ECF No. 1.

                                     LEGAL STANDARD

I.     District Court Review

       “In reviewing a final decision of the SSA, this Court is limited to determining whether

the SSA’s conclusions were supported by substantial evidence in the record and were based on a

correct legal standard.” Talavera v. Astrue, 697 F.3d 145, 151 (2d Cir. 2012) (internal quotation

marks omitted); see also 42 U.S.C. § 405(g). The Act holds that a decision by the Commissioner

is “conclusive” if it is supported by substantial evidence. 42 U.S.C. § 405(g). “Substantial

evidence means more than a mere scintilla. It means such relevant evidence as a reasonable

mind might accept as adequate to support a conclusion.” Moran v. Astrue, 569 F.3d 108, 112 (2d

Cir. 2009) (internal quotation marks omitted). It is not this Court’s function to “determine de

novo whether [the claimant] is disabled.” Schaal v. Apfel, 134 F.3d 496, 501 (2d Cir. 1998)

(internal quotation marks omitted); see also Wagner v. Sec’y of Health & Human Servs., 906

F.2d 856, 860 (2d Cir. 1990) (holding that review of the Secretary’s decision is not de novo and

that the Secretary’s findings are conclusive if supported by substantial evidence).



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II.    Disability Determination

       An ALJ must follow a five-step sequential evaluation to determine whether a claimant is

disabled within the meaning of the Act. See Bowen v. City of New York, 476 U.S. 467, 470-71

(1986). At step one, the ALJ must determine whether the claimant is engaged in substantial

gainful work activity. See 20 C.F.R. § 404.1520(b). If so, the claimant is not disabled. If not,

the ALJ proceeds to step two and determines whether the claimant has an impairment, or

combination of impairments, that is “severe” within the meaning of the Act, meaning that it

imposes significant restrictions on the claimant’s ability to perform basic work activities. 20

C.F.R. § 404.1520(c). If the claimant does not have a severe impairment or combination of

impairments, the analysis concludes with a finding of “not disabled.” If the claimant does, the

ALJ continues to step three.

       At step three, the ALJ examines whether a claimant’s impairment meets or medically

equals the criteria of a listed impairment in Appendix 1 of Subpart P of Regulation No. 4 (the

“Listings”). 20 C.F.R. § 404.1520(d). If the impairment meets or medically equals the criteria

of a Listing and meets the durational requirement (20 C.F.R. § 404.1509), the claimant is

disabled. If not, the ALJ determines the claimant’s residual functional capacity (“RFC”), which

is the ability to perform physical or mental work activities on a sustained basis, notwithstanding

limitations for the collective impairments. See 20 C.F.R. § 404.1520(e)-(f).

       The ALJ then proceeds to step four and determines whether the claimant’s RFC permits

him or her to perform the requirements of his or her past relevant work. 20 C.F.R. § 404.1520(f).

If the claimant can perform such requirements, then he or she is not disabled. If he or she

cannot, the analysis proceeds to the fifth and final step, wherein the burden shifts to the

Commissioner to show that the claimant is not disabled. To do so, the Commissioner must



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present evidence to demonstrate that the claimant “retains a residual functional capacity to

perform alternative substantial gainful work which exists in the national economy” in light of his

or her age, education, and work experience. See Rosa v. Callahan, 168 F.3d 72, 77 (2d Cir.

1999) (quotation marks omitted); see also 20 C.F.R. § 404.1560(c).

                                                      DISCUSSION

I.       The ALJ’s Decision

         The ALJ’s decision analyzed Barry’s claim for benefits under the process described

above. At step one, the ALJ found that Barry had not engaged in substantial gainful activity

since the amended alleged onset date. Tr. 18. At step two, the ALJ found that Barry has the

following severe impairments: lumbar and cervical degenerative disease, COPD, left index and

middle finger amputations, right epicondylitis, borderline intellectual functioning, ADHD,

alcohol and cannabis abuse, and major depressive, generalized anxiety, antisocial personality,

and panic disorders. Tr. 18. At step three, the ALJ found that such impairments, alone or in

combination, did not meet or medically equal an impairment in the Listings. Tr. 18-20.

         Next, the ALJ determined that Barry retained the RFC to perform light work2 with

additional limitations. Tr. 15-17. Specifically, the ALJ found that Barry can occasionally

perform postural activities and finger with his non-dominant upper left extremity; can frequently

perform overhead activities and reach, push, and pull with his right upper extremity; cannot

climb ladders, ropes, or scaffolds; must avoid hazards, environmental irritants, and cold



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          “Light work involves lifting no more than 20 pounds at a time with frequent lifting or carrying of objects
weighing up to 10 pounds. Even though the weight lifted may be very little, a job is in this category when it requires
a good deal of walking or standing, or when it involves sitting most of the time with some pushing and pulling of
arm or leg controls. To be considered capable of performing a full or wide range of light work, [the claimant] must
have the ability to do substantially all of these activities. If someone can do light work, [the SSA] determine[s] that
he or she can also do sedentary work, unless there are additional limiting factors such as loss of fine dexterity or
inability to sit for long periods of time.” 20 C.F.R. § 416.967(b).


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temperatures; can follow simple instructions and perform one or two step tasks; and can

occasionally interact with others and make simple decisions. Tr. 20-32.

       At step four, the ALJ relied on the VE’s testimony and found that this RFC prevents

Barry from performing his past relevant work as a tree cutter, construction worker, and roofer.

Tr. 32. At step five, the ALJ relied on the VE’s testimony and found that Barry can adjust to

other work that exists in significant numbers in the national economy given his RFC, age,

education, and work experience. Tr. 32-33. Specifically, the VE testified that Barry could work

as a cleaner, bagger, and table worker. Tr. 33. Accordingly, the ALJ concluded that Barry was

not “disabled” under the Act. Tr. 33.

II.    Analysis

       Barry argues that remand is required because the ALJ failed to properly evaluate the

opinion of treating psychiatrist Kalaiselvi Rajendran, M.D. (“Dr. Rajendran”). ECF No. 11, at 9-

14. The Commissioner maintains that the ALJ properly assessed Dr. Rajendran’s opinion (ECF

No. 14-1. At 28-31), and this Court agrees.

       The “treating physician rule” is “a series of regulations set forth by the Commissioner . . .

detailing the weight to be accorded a treating physician’s opinion.” De Roman v. Barnhart, No.

03 Civ. 0075 (RCC) (AJP), 2003 WL 21511160, at *9 (S.D.N.Y. July 2, 2003) (citing 20 C.F.R.

§ 404.1527); see also 20 C.F.R. § 416.927(c)(2). Under the treating physician rule, the ALJ

must give controlling weight to a treating physician’s opinion when that opinion is “well-

supported by medically acceptable clinical and laboratory diagnostic techniques and is not

inconsistent with the other substantial evidence in [the] record.” 20 C.F.R. § 416.927(c)(2); see

also Green-Younger v. Barnhart, 335 F.3d 99, 106 (2d Cir. 2003). While an ALJ may discount a

treating physician’s opinion if it does not meet this standard, the ALJ must “comprehensively set



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forth [his or her] reasons for the weight assigned to a treating physician’s opinion.” Halloran v.

Barnhart, 362 F.3d 28, 33 (2d Cir. 2004); 20 C.F.R. § 416.927(c)(2) (“We will always give good

reasons in our notice of determination or decision for the weight we give [the claimant’s] treating

source’s opinion.”).

           Even when a treating physician’s opinion is not given “controlling” weight, the ALJ

must still consider several factors in determining how much weight it should receive. The ALJ

must consider “the length of the treatment relationship and the frequency of examination; the

nature and extent of the treatment relationship; the relevant evidence, particularly medical signs

and laboratory findings, supporting the opinion; the consistency of the opinion with the record as

a whole; and whether the physician is a specialist in the area covering the particular medical

issues.”     Burgess v. Astrue, 537 F.3d 117, 129 (2d Cir. 2008) (internal quotation marks,

alterations, and citations omitted); 20 C.F.R. § 416.927(c)(1)-(6).

       The Commissioner is responsible for determining whether a claimant meets the statutory

definition of disability and a medical source’s statement that a claimant is “disabled” or “unable

to work” does not mean that the Commissioner will find that claimant disabled. 20 C.F.R. §

416.1527(d)(1). The ALJ is still obligated, however, to explain why he or she refused to credit a

treating physician’s opinion on the ultimate issue of disability. See Cottrell v. Colvin, No. 15-

CV-702-FPG, 2016 WL 4523187, at *4 (W.D.N.Y. Aug. 30, 2016) (citing Newbury v. Astrue,

321 F. App’x 16, 18 (2d Cir. 2009) (summary order) (finding that the district court erred when it

held that, because the treating physician’s opinion went to decisions reserved solely to the

Commissioner, the plaintiff was not entitled to an explanation of the reasons why the ALJ

refused to credit the treating physician’s findings)); Snell v. Apfel, 177 F.3d 128, 134 (2d Cir.

1999) (“Reserving the ultimate issue of disability to the Commissioner relieves the [SSA] of



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having to credit a doctor’s finding of disability, but it does not exempt administrative

decisionmakers from their obligation . . . to explain why a treating physician’s opinions are not

being credited.”).

       Here, the ALJ’s decision summarized treatment notes from Dr. Rajendran dated March

16 and March 27, 2012. Tr. 29-30 (citing Tr. 606-11). The ALJ noted that Barry’s chief

complaint on March 16 was a “hyperactive attention problem” (Tr. 606), and that Dr. Rajendran

diagnosed him with depression, ADHD, anxiety, and borderline intellectual functioning (Tr. 29,

608). The ALJ observed that “[o]n the basis of this initial examination, and with nothing more

than [Barry]’s word that he was experiencing this host of mental and physical problems,” Dr.

Rajendran opined that Barry could not work due to back and neck pain and psychological issues.

Tr. 29 (citing Tr. 608).       The ALJ noted that on March 27, “bas[ed] on [Barry]’s various

allegations,” Dr. Rajendran opined that Barry was disabled and could not hold any type of job.

Tr. 29 (citing Tr. 610).

       The ALJ gave Dr. Rajendran’s opinion “no weight,” in part because she concluded that

Barry was disabled and could not work, which is “an issue reserved by law to the

Commissioner.”       Tr. 30.    The ALJ also discounted Dr. Rajendran’s opinion because her

conclusions were based on Barry’s physical problems, which, as the ALJ pointed out, Dr.

Rajendran did not evaluate and is not qualified to evaluate based on her expertise as a

psychiatrist. Tr. 29. These are both valid reasons under the regulations to discount the treating

physician’s opinion. 20 C.F.R. § 416.927(c)(3) (“The more a medical source presents relevant

evidence to support an opinion, particularly medical signs and laboratory findings, the more

weight we will give that opinion. The better an explanation a source provides for an opinion, the

more weight we will give that opinion.”); 20 C.F.R. § 416.927(c)(5) (“We generally give more



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weight to the opinion of a specialist about medical issues related to his or her area of specialty

than to the opinion of a source who is not a specialist.”)

       The ALJ also rejected Dr. Rajendran’s opinion because “[i]t is clear from reading Dr.

Rajendran’s reports that h[er] opinion is in fact based entirely on [Barry]’s own statements and,

as noted earlier in this decision, the record makes clear [Barry]’s statements are largely not

credible.”   Tr. 30.   The ALJ’s decision provides several reasons for discounting Barry’s

credibility (Tr. 22-32; see also §§ 20 C.F.R. 416.929(c)(3)(i)-(vii)), and Barry’s motion does not

dispute the credibility assessment. ECF No. 11.

       Finally, the ALJ rejected Dr. Rajendran’s opinion because it was contradicted by the

opinion of Michael P. Santa Maria, Ph.D. (“Dr. Santa Maria”) who examined Barry on March

27, 2012, the same day that Dr. Rajendran opined that Barry could not work. Tr. 30 (citing Tr.

605). Dr. Santa Maria found no evidence “of any cognitive or psychological condition that

would preclude [Barry] from returning to his most recent past line of work as a tree

climber/cutter.” Tr. 605. This inconsistency was also a valid reason to discount Dr. Rajendran’s

opinion. 20 C.F.R. 416.927(c)(4) (“Generally, the more consistent an opinion is with the record

as a whole, the more weight we will give to that opinion.”). Barry argues that the ALJ should

have analyzed the consistency of Dr. Rajendran’s opinion with the opinion of Christopher Pino,

Ph.D. (ECF No. 11, at 11-12), but the ALJ was not required to do so and, as explained, he

provided several valid reasons for discounting Dr. Rajendran’s opinion. See Rogacki v. Colvin¸

No. 15-CV-716-FPG, 2016 WL 4430600, at *3 (W.D.N.Y. Aug. 22, 2016) (“If the ALJ’s

conclusions are supported by substantial evidence, then those conclusions must be upheld even if

there is also substantial evidence for the claimant’s position.”) (citations omitted); Malloy v.

Astrue, No. 3:10-cv-190 (MRK) (WIG), 2010 WL 7865083, at *20 (D. Conn. Nov. 17, 2010)



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(“The ALJ was not required to discuss every shred of evidence in the medical records or to

reconcile every conflicting report.”) (citing Galiotti v. Astrue, 266 F. App’x 66 (2d Cir. 2008)

(summary order)).

       Accordingly, for the reasons stated, this Court finds that the ALJ properly evaluated Dr.

Rajendran’s opinion and was entitled to give it “no weight” for the reasons set forth in his

decision.

                                       CONCLUSION

       The Commissioner’s Motion for Judgment on the Pleadings (ECF No. 14) is GRANTED,

and Plaintiff’s Motion for Judgment on the Pleadings (ECF No. 11) is DENIED. Plaintiff’s

Complaint (ECF No. 1) is DISMISSED WITH PREJUDICE. The Clerk of Court is directed to

enter judgment and close this case.



       IT IS SO ORDERED.

Dated: December 14, 2016
       Rochester, New York
                                            ______________________________________
                                            HON. FRANK P. GERACI, JR.
                                            Chief Judge
                                            United States District Court




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